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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: April 18, 2022.

                                                               __________________________________
                                                                         TONY M. DAVIS
                                                               UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


  IN RE:                                           §    CASE NO. 22-60020 (SDTX)
                                                   §
  INFOW, LLC                                       §    CHAPTER 11
       Debtor.                                     §


  SCARLETT LEWIS, et al.                           §
       Plaintiffs,                                 §
                                                   §    ADV. NO. 22-01024-tmd
  v.                                               §
                                                   §
  ALEX JONES, et al.                               §
       Defendants.                                 §


                     ORDER REASSIGNING BUSINESS OF THE COURT

           IT IS HEREBY ORDERED and NOTICE is given that the above-referenced adversary

  proceeding is reassigned to the Honorable H. Christopher Mott.

           IT IS FURTHER ORDERED that the Clerk of the Court shall immediately cause a copy

  of this ORDER to be served on all parties in interest in this case.

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